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                                      JANIAH MONROE, et al v. STEVE MEEKS
                                            Case No. 3:18-CV-00156-NJR
                            United States District Court for the Southern District of Illinois
                                       Minor Update by the second co-monitor
                                Submitted by: julie graham, MS (Second Co-Monitor)
                                                     April 29, 2023




     This is a problematic report because in order to stay safer, some transgender women don’t le
     grievances, they don’t take advantage of the set-aside shower times, and they don’t use items
     from commissary simply out of fear of outing themselves to other incarcerated people as being
     transgender.

     Grievances
     Some women report that grievances are led and lost. According to DOC, that isn’t possible.
     Women report they fear retaliation for ling grievances. Some women report ling grievances
     related to transgender issues outs people and many feel it makes them targets for tickets, or
     getting their cells tossed or other retaliation. Obviously feeling silenced is a serious problem,
     but when people are trying to transfer and cannot because they get tickets which they feel are
     retaliatory it has extreme consequences.

     Some trans women don’t le grievances because they don’t believe it matters. It is always a
     unveri able situation. This leads to what psychology calls ‘learned helplessness’ but it’s really
     trained helplessness. There is no point in trying because nothing will change and more
     negative experiences than being ignored may occur. One woman says they rarely bring the
     grievance box around. I try to encourage women to le grievances when they raise issues with
     me but I can hear their concerns and fear.


     • Because women aren’t ling grievances, it’s hard for the prison administration to know that
       something wrong is occurring.
     • Transgender women adjust to stay safe, they don’t leave their cells, don’t go to the yard,
       don’t shower, don’t use commissary.

     Appearance
     Another issue that arose is there is a misunderstanding about appearance and the need for
     protection. Security sta assess people on a variety of issues to determine where to place
     them. If a transgender woman can’t be kept safe, she may alter her appearance to stay alive.
     That means she may grow out her body hair, her facial hair, etc. This will reinforce sta to
     believe she is not transgender because of her appearance. Instead, it’s a very rational decision
     to stay safer. At Menard three transgender women of color are trying to get into protective
     custody because they don’t feel safe.

     At Taylorville, Lawrence, and Menard women report that since sta won’t keep them safe, they
     live as men and keep their identities private, they stopped trying to be themselves, ie, feminine
     appearing, because they can’t get into protective custody. They may wear undergarments, but
     that is all they can do. It’s important to note that they might be misdiagnosed with transvestic
     fetishism as a result of trying to stay safe. They wear women’s underwear and do nothing else
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      to appear typically feminine to avoid harassment or harm. They may not have female search
      marker.

      Quite frequently transgender women are taller than average cisgender men —this is anecdotal,
      no one has studied this, but people who have been in this eld for a long time have noticed it. I
      suspect it's part of the dissatisfaction with showers. Being tall doesn’t mean you are not
      transgender and deserving of protection related to your identity. But as a society, folks tend to
      see a large person and don’t think of them as vulnerable.

      •    Transgender women who must try to pass as men to stay safe may experience distress
           when they see body hair and facial hair, or not use make up, and be routinely misgendered
           related to their appearance. It limits their ability to develop. “I can’t socially transition
           without other girls.”


      Showers
      At Menard several women I spoke with do not shower. They wash upon their cell. The issue
      there is being outed by the set aside shower times. They won’t go during the community
      shower times, either because they fear for their safety. Also the shower as described by one
      woman sounds inadequate and I’ve requested photos that I have not yet received.

      At Taylorville two woman reported they wouldn’t shower during the shower times because it
      outed them as trans. Another women said that the showers were adequate but sta was
      walking back and forth and it made them uncomfortable.

      At Pickneyville there is an odd plate over the top of the front of the cell that isn’t large enough
      to cover the breasts of tall women from what I can tell. The warden at Pickneyville is attempting
      to address this problem. There was another complaint that Ms. Bennett reported 4/28. In
      checking with the Warden, he has ordered materials to improve the showers and they haven’t
      yet got them.

      Lawrence-no reported concerns.

      • Special shower times, while it works in many locations, can expose transgender women who
          do not want to be outed due to privacy concerns, often related to fear.


      Searches
      At Taylorville one woman reported she does not use the Female designation for searches
      because she will be discriminated against in practical ways. For instance, if you want a job,
      you have to remove the female search preference because, when you return from your job if
      they have to wait for a woman to come to search you, it slows down the process and so they
      simply won’t hire women with that search preference as a result. It coerces people into
      changing the search preference from their ID. Another woman said its just too hard to wait for
      searches so she doesn’t have female search preference.

      • Requesting searches by a person of the correct gender makes them a hassle for the
          systems which means they don’t ask for the correct gender when searched.

      Another woman said she had no problems with searches at Taylorville.

      When one woman arrived at Menard she reports she was told she was too masculine for a
      female o cer to search and she could just le a grievance. A di erent woman said the same
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                         thing happened, that she doesn’t look like a woman so she was searched by a man after being
                         told she doesn’t look like a trans. One had an ID card that says strip by female, the other
                         didn’t. Neither led a grievance.


                         Sta Issues
                         There are no facilities where people feel routinely respected. Transgender women reported
                         being called names (slurs) and misgendered.

                         At Taylorville one of the women reported that sta called her names because she wore her hair
                         in pigtails—they’d call her Wendy or HarleyQuinn. She is worried about retaliation if she
                         complains-that they will do something to her or her belongings.

                         One woman reported leaving a program she enjoyed participating in because she felt bullied by
                         the sta .

                         Menard
                         A transgender women who reported that she transferred there in October 2022, says when she
                         got out of van there was a “white shirt “and a sergeant who were there to determine where she
                         would be placed and said that this f*ggot doesn’t look feminine so we won’t put her with the
                         rest of the f*gs in protective custody.

                         Commissary
                         Taylorville is working with a woman to get her the right size bra. Two other individual reports
                         being o ered the list but won’t use it because she doesn’t want to expose herself.
                         At Lawrence there is now makeup and underwear. At Menard, one woman reported she was
                         o ered gender appropriate underwear when she rst arrived.

                         These are tiny but signi cant changes.

                         Bear in mind some women will not use commissary out of fear.


                         Updates
                         Western Illinois
                         In my previous report I indicated a woman said she was shackled and kept in a shower with
                         her arms behind her back for 6 hours when the her area was searched. Warden Greene states
                         she has video that this is not accurate. When Orange Crush comes in they videotape.

                         There was no grievance or other evidence of the reported assault in the shower. The individual
                         didn’t le a grievance.

                         Training
                         The Moss Group completed a training at Logan and now has
                         Chief Mendoza and Warden Case report the training was well-received.

                         Chief Fanning reports that TMG will be returning to Logan Correctional Center in June to
                         conduct a Training for Trainers related to the employee training. Then they will assist with 8
                         sessions of trainings for employees. They expect to have all Logan employees trained by July
                         31. TMG will have the curriculum completed by June 1st for the individual in custody training.
                         He feels it’s a realistic goal to start in June and complete training for the entire population of
                         Logan Correctional Center (approx. 950) by September 30th.
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